          Case 21-60090 Document 64 Filed in TXSB on 01/21/22 Page 1 of 1
                                                                                United States Bankruptcy Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                            January 21, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                              VICTORIA DIVISION

 In re:                                             §
                                                    §   Subchapter V
 SGR ENERGY, INC.,                                  §
                                                    §   Case No. 21-60090
                     Debtor.                        §   Christopher M. Lopez



                               ORDER DISMISSING CASE
                                      (No. 50)

       Came on for consideration the Debtor’s Motion to Dismiss and after considering the
pleading, it is hereby

          ORDERED:

   1. The case is DISMISSED with prejudice for 60 days from the entry of this order.

   2. The Subchapter V Trustee, Catherine Stone Curtis is discharged as Trustee in the case.

   3. Within 10 days of entry of this Order, the Debtor shall pay counsel for the Debtor, Tran
      Singh, LLP, the amount awarded by the Court on its Application for Compensation filed
      at Docket No. 57 as an administrative expense of the estate.




           August21,
           January 02,2022
                       2019
